          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 1 of 29



 1   ARTURO J. GONZÁLEZ (SBN 121490)               RICHARD D. McCUNE (SBN 132124)
     AGonzalez@mofo.com                            rdm@mccunewright.com
 2   PENELOPE A. PREOVOLOS (SBN 87607)             DAVID C. WRIGHT (SBN 177468)
     PPreovolos@mofo.com                           dcw@mccunewright.com
 3   TIFFANY CHEUNG (SBN 211497)                   McCUNE WRIGHT AREVALO, LLP
     TCheung@mofo.com                              3281 East Guasti Road, Suite 100
 4   ALEXIS A. AMEZCUA (SBN 247507)                Ontario, California 91761
     AAmezcua@mofo.com                             Telephone: (909) 557-1250
 5   CHRISTOPHER L. ROBINSON (SBN 260778)          Facsimile: (909) 557-1275
     ChristopherRobinson@mofo.com
 6   MORRISON & FOERSTER LLP                       JOSEPH G. SAUDER
     425 Market Street                             MATTHEW D. SCHELKOPF
 7   San Francisco, California 94105-2482          JOSEPH B. KENNEY
     Telephone:    (415) 268-7000                  McCUNE WRIGHT AREVALO, LLP
 8   Facsimile:    (415) 268-7522                  555 Lancaster Avenue
                                                   Berwyn, PA 19312
 9                                                 Telephone: (610) 200-0580
     ANNE M. CAPPELLA (SBN 181402)                 Attorneys for Plaintiffs and Proposed Class
10   anne.cappella@weil.com
     WEIL, GOTSHAL & MANGES LLP
11   201 Redwood Shores Parkway
     Redwood Shores, CA 94065
12   Telephone: (650) 802-3000
     Facsimile: (650) 802-3100
13
     Attorneys for Defendant APPLE INC.
14                             UNITED STATES DISTRICT COURT
15                           NORTHERN DISTRICT OF CALIFORNIA
16                                        SAN JOSE DIVISION
17

18 THOMAS DAVIDSON, TODD CLEARY,                     Case No. 16-cv-4942-LHK
   ADAM BENELHACHEMI, MICHAEL PAJARO,
19 JOHN BORZYMOWSKI, BROOKE CORBETT,                AMENDED
   TAYLOR BROWN, JUSTIN BAUER,                      STIPULATED PROTECTIVE ORDER
20 HEIRLOOM ESTATE SERVICES, INC.,                  REGARDING THE DISCLOSURE
   KATHLEEN BAKER, MATT MUILENBURG,                 AND USE OF DISCOVERY
21 WILLIAM BON, and JASON PETTY, on behalf          MATERIALS
   of themselves and all others similarly situated,
22                                                  Dept.: Courtroom 8 – 4th Floor
                   Plaintiffs,                      Judge: Honorable Lucy H. Koh
23
           vs.                                       Re: Dkt. 127
24
   APPLE, INC.,
25
                                                      MODIFIED BY THE COURT
                       Defendant.
26

27   ________________________________________
28

     STIPULATED PROTECTIVE ORDER                                       CASE NO. 16-CV-4942-LHK
     sf- 3814819
          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 2 of 29




 1            Plaintiffs and Defendant Apple Inc. (“Apple”) anticipate that documents, testimony, or

 2   information containing or reflecting confidential, proprietary, trade secret, and/or commercially

 3   sensitive information are likely to be disclosed or produced during the course of discovery, initial

 4   disclosures, and any supplemental disclosures in this case and request that the Court enter this Order

 5   setting forth the conditions for treating, obtaining, and using such information. Pursuant to Rule 26(c)

 6   of the Federal Rules of Civil Procedure, the Court finds good cause for entering the following

 7   Stipulated Protective Order Regarding the Disclosure and Use of Discovery Materials (“Stipulation

 8   and Protective Order”).

 9   1.       PURPOSES AND LIMITATIONS

10            Disclosure and discovery activity in this action are likely to involve production of

11   confidential, proprietary, or private information for which special protection from public disclosure

12   and from use for any purpose other than prosecuting this litigation may be warranted. Accordingly,

13   the Parties hereby stipulate to and petition the Court to enter the following Stipulation and Protective

14   Order.

15            The parties acknowledge that this Stipulation and Protective Order governs discovery in

16   Thomas Davidson, Todd Cleary, Adam Benelhachemi, Michael Pajaro, John Borzymowski, Brooke

17   Corbett, Taylor Brown, Justin Bauer, Heirloom Estate Services, Inc., Kathleen Baker, Matt

18   Muilenburg, William Bon, and Jason Petty v. Apple, Inc., Case No. 5:16-cv-04942-LHK. The Parties

19   also acknowledge that this Stipulation and Protective Order does not confer blanket protections on all

20   disclosures or responses to discovery and that the protection it affords from public disclosure and use

21   extends only to the limited information or items that are entitled to confidential treatment under the

22   applicable legal principles. The Parties further acknowledge, as set forth in Section 14.7 below, that

23   this Stipulation and Protective Order creates no entitlement to file confidential information under

24   seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and reflects the standards

25   that will be applied when a party seeks permission from the Court to file material under seal.

26   2.       DEFINITIONS

27            2.1    Action: Thomas Davidson, Todd Cleary, Adam Benelhachemi, Michael Pajaro, John

28
     STIPULATED PROTECTIVE ORDER                       1                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 3 of 29




 1   Borzymowski, Brooke Corbett, Taylor Brown, Justin Bauer, Heirloom Estate Services, Inc., Kathleen

 2   Baker, Matt Muilenburg, William Bon, and Jason Petty v. Apple, Inc., Case No. 5:16-cv-04942-LHK

 3   presently pending in the United States District Court for the Northern District of California.

 4           2.2.   Party: Any party to this Action, including all of its officers, directors, employees, and

 5   outside counsel (and their support staff).

 6           2.3.   Disclosure or Discovery Material: All items or information, regardless of the medium

 7   or the manner in which it is generated, stored or maintained (including, among other things,

 8   testimony, transcripts, or tangible things), that is produced or generated in disclosures or responses to

 9   discovery in this matter.

10           2.4    “CONFIDENTIAL” Information or Items: Disclosure or Discovery Material that is

11   non-public and that a Party or Non-Party in good faith believes must be held confidential to protect

12   personal privacy interests or confidential, proprietary, and/or commercially sensitive information,

13   including trade secrets, or otherwise have a compelling need for privacy.

14           2.5    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items:

15   Disclosure or Discovery Material that is extremely confidential and/or sensitive in nature, disclosure

16   of which to another Party or Non-Party the Producing Party reasonably believes is likely to cause

17   economic harm or competitive disadvantage to the Producing Party, is highly personal non-public

18   information, or will otherwise compromise or jeopardize the Producing Party’s business interests.

19   The parties agree that the following information, if nonpublic, shall be presumed to merit the

20   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” designation: trade secrets, pricing

21   information, financial data, sales information, sales or marketing forecasts or plans, business plans,

22   sales or marketing strategy, product development information, engineering documents, testing

23   documents, employee information, and other nonpublic information of similar competitive and

24   business sensitivity.

25           2.6    Outside Counsel of Record: Attorneys who are not employees of a Party but who are

26   employed at law firms that appear on the pleadings as counsel for a Party in this Action.

27           2.7    In-House Counsel: Attorneys who are employees of a Party.

28
     STIPULATED PROTECTIVE ORDER                      2                          CASE NO. 16-CV-4942-LHK
     sf- 3814819
          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 4 of 29




 1           2.8     Counsel (without qualifier): Outside Counsel of Record and In-House Counsel (as

 2   well as their support staff).

 3           2.9     Designating Party: A Party or Non-Party that designates information or items that it

 4   produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

 5   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

 6           2.10    Expert: A person with specialized knowledge or experience in a matter pertinent to

 7   the litigation who has been retained by a Party or its Counsel to serve as an expert witness or as a

 8   consultant in this Action and who is not a past employee within the last ten years or a current

 9   employee of a Party or of any entity on the Restricted Competitors List and who, at the time of

10   retention, is not anticipated to become an employee of a Party or any entity on the Restricted

11   Competitors List. This definition includes any professional jury or trial consultant retained in

12   connection with this litigation but does not include mock jurors. A list of Apple Inc.’s (“Apple”)

13   restricted competitors was separately produced to Outside Counsel and agreed to prior to the

14   execution of this Protective Order (“Restricted Competitors List”). Any additions to the Restricted

15   Competitors List after the execution of this Protective Order must be agreed to by Outside Counsel or

16   approved by the Court.

17           2.11    Non-Party: Any natural person, partnership, corporation, association, or other legal

18   entity not named as a Party to this action.

19           2.12    Professional Vendors: Persons or entities that provide litigation support services (e.g.,

20   document and ESI processing, hosting, review, and production, photocopying, videotaping,

21   translating, preparing exhibits or demonstrations, and organizing, storing, or retrieving data in any

22   form or medium) and their employees and subcontractors.

23           2.13    Protected Material: Any Disclosure or Discovery Material that is designated as

24   “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

25           2.14    Receiving Party: A Party that receives Disclosure or Discovery Material from a

26   Producing Party.

27           2.15    Producing Party: A Party or non-Party that provides, produces, or makes available for

28
     STIPULATED PROTECTIVE ORDER                      3                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 5 of 29




 1   inspection Disclosure or Discovery Material in the course of this Action.

 2   3.      SCOPE

 3           This Stipulation and Protective Order shall govern all Protected Material in whatever form,

 4   including documents, data, information, interrogatory responses, deposition testimony, deposition

 5   transcripts, responses to requests for admission, and any other Protected Material provided, produced,

 6   or made available for inspection in response to any method of discovery conducted in this Action.

 7   The protections conferred by this Stipulation and Protective Order cover not only Protected Material

 8   (as defined above), but also any information copied or extracted therefrom, as well as all copies,

 9   excerpts, summaries or compilations thereof, plus testimony, conversations or presentations by

10   Parties or Counsel to or in Court or in other settings that might reveal Protected Material.

11           Nothing herein shall be construed to prevent a Producing Party from reviewing, using or

12   disclosing its own Protected Material in any manner that it deems appropriate.

13           This Stipulation and Protective Order is without prejudice to the right of any Party to seek

14   further or additional protection of any Discovery Material or to modify this Order in any way,

15   including, without limitation, an order that certain matter not be produced at all.

16           The parties agree that this Stipulation and Protective Order does not address the production of

17   source code (including source code and source code listings, object code and object code listings,

18   executable code and similar sensitive software code, whether in printed or electronic form). The

19   parties will separately negotiate and submit a protective order governing the production of source

20   code, if necessary.

21   4.      DURATION

22           Even after final disposition of this litigation, the confidentiality obligations imposed by this

23   Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order

24   otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and

25   defenses in this action, with or without prejudice; or (2) final judgment herein after the completion

26   and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action, including the time

27   limits for filing any motions or applications for extension of time pursuant to applicable law.

28
     STIPULATED PROTECTIVE ORDER                       4                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 6 of 29




 1   5.       DESIGNATING PROTECTED MATERIAL

 2            5.1    Procedures for Designating Material for Protection: Any Party to this litigation, or any

 3   Non-Party who produces Disclosure or Discovery Material, shall have the right to designate as

 4   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY” any

 5   Protected Material it produces. All Protected Material shall bear a legend on each page stating that

 6   the material is “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES

 7   ONLY.” Materials designated as or deemed to be “CONFIDENTIAL” or “HIGHLY

 8   CONFIDENTIAL — ATTORNEYS’ EYES ONLY” consistent with this Stipulation and Protective

 9   Order are subject to the provisions of this Stipulation and Protective Order and shall be protected,

10   used, handled and disposed of in accordance with the provisions of this Stipulation and Protective

11   Order.

12            Each Party or Non-Party that designates information or items for protection under this Order

13   must take care to limit any such designation to specific material that qualifies under the appropriate

14   standards set forth herein. A Designating Party must take care to designate for protection only those

15   materials, documents, items, or oral or written communications that so qualify.

16            5.2    Manner and Timing of Designations. Except as otherwise provided in this Stipulation

17   and Protective Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated

18   or ordered, Disclosure or Discovery Material that qualifies for protection under this Stipulation and

19   Protective Order must be clearly so designated before the material is disclosed or produced.

20            Designation in conformity with this Stipulation and Protective Order requires:

21                   (a)    For Information in Documentary Form (e.g., paper or electronic documents,

22   but excluding transcripts of depositions or other pretrial or trial proceedings): The Producing Party

23   affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

24   ONLY” to each page that contains Protected Material. In order to speed up the process of producing

25   large volumes of Protected Material, multi-page documents in which Protected Material is pervasive

26   may be marked “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

27   ONLY” throughout. Where it is not possible to affix a legend to particular Protected Material, the

28
     STIPULATED PROTECTIVE ORDER                      5                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 7 of 29




 1   Producing Party shall take reasonable steps to give all Receiving Parties notice of the Protected

 2   Material’s status as such. Except as otherwise agreed, within forty-five (45) days after receipt of

 3   Disclosure or Discovery Material, any Receiving Party may designate the material as

 4   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

 5           A Party or Non-Party that makes original documents or materials available for inspection need

 6   not designate them for protection until after the inspecting Party has indicated which material it

 7   would like copied and produced. During the inspection and before the designation, all of the material

 8   made available for inspection shall be deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

 9   ONLY.” After the inspecting Party has identified the documents it wants copied and produced, the

10   Producing Party must determine which documents, or portions thereof, qualify for protection under

11   this Order. Then, before producing the specified documents, the Producing Party must affix the

12   appropriate legend (“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

13   ONLY”) to each page that contains Protected Material, except that multi-page documents may be

14   designated in accordance with the preceding paragraph.

15                  (b)     For Testimony Given in Deposition or in Other Pretrial or Trial Proceedings:

16   Any Party or Non-Party offering or sponsoring the testimony may identify on the record, before the

17   close of the deposition, hearing, or other proceeding, all protected testimony and may further specify

18   any portions of the testimony that qualify as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

19   ATTORNEYS’ EYES ONLY.” Alternatively, within thirty (30) days of receipt of a transcript or

20   recording of a deposition or other pretrial proceeding, the offering or sponsoring Party or Non-Party

21   may designate such transcript or recording or any portion thereof as “CONFIDENTIAL” or

22   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” by notifying all Parties, in writing, of

23   the specific pages and lines of the transcript or recording that should be treated as

24   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” All

25   transcripts or recordings of depositions or other pretrial proceedings shall be treated as “HIGHLY

26   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” for thirty (30) days after receipt of the transcript

27   or recording, or until written notice of a designation is received, whichever occurs first. In the case of

28
     STIPULATED PROTECTIVE ORDER                       6                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 8 of 29




 1   a Non-Party witness, testimony can be designated as containing “CONFIDENTIAL” or “HIGHLY

 2   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information by a Party, the Non-Party witness or

 3   upon agreement of the Parties.

 4           Transcript pages containing Protected Material must be separately bound by the court

 5   reporter, who must affix to the top of each such page the legend “CONFIDENTIAL” or “HIGHLY

 6   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” as instructed by the Party or Non-Party offering

 7   or sponsoring the witness or presenting the testimony.

 8           In the event the deposition is videotaped, the original and all copies of the videotape shall be

 9   marked by the video technician to indicate that the contents of the videotape are subject to this

10   Stipulation and Protective Order, substantially along the lines of “This videotape contains

11   confidential testimony used in this case and is not to be viewed or the contents thereof to be displayed

12   or revealed except pursuant to the terms of the operative Stipulation and Protective Order in this

13   matter or pursuant to written stipulation of the parties.”

14           Counsel for any Producing Party shall have the right to exclude from oral depositions, other

15   than the deponent, deponent’s counsel, the reporter and videographer (if any), any person who is not

16   authorized by this Stipulation and Protective Order to receive or access Protected Material based on

17   the designation of such Protected Material. Such right of exclusion shall be applicable only during

18   periods of examination or testimony regarding such Protected Material.

19                  (c)     For Information Produced in A Form Other than Documentary and for Any

20   Other Tangible Items: The Producing Party shall affix in a prominent place on the exterior of the

21   container or containers in which the information or item is stored the legend “CONFIDENTIAL” or

22   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

23                  (d)     For Inspection of Things or Premises: The Producing Party shall state in

24   writing prior to the inspection that “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

25   ATTORNEYS’ EYES ONLY” information or material will be revealed.

26           5.3    Contractual Obligations to Non-Parties: During the course of this Action, a Party or

27   Non-Party may be requested to produce information that is subject to contractual or other obligations

28
     STIPULATED PROTECTIVE ORDER                       7                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 9 of 29




 1   of confidentiality owed to a Non-Party. The Party or Non-Party subject to the contractual or other

 2   obligation of confidentiality shall promptly contact the person to whom the obligation is owed to

 3   determine whether that person is willing to permit disclosure of the confidential information under

 4   the terms of this Stipulation and Protective Order. If that person is so willing, the information, if

 5   otherwise discoverable, shall be produced in accordance with this Stipulation and Protective Order.

 6   If the person to whom the obligation is owed is not willing to permit disclosure of the confidential

 7   information under the terms of this Stipulation and Protective Order, or fails to respond before

 8   responses or production is due, the Party seeking the information in this litigation shall be so notified

 9   and given a description of the documents withheld, the reason for withholding the documents, the

10   person to whom the obligation of confidentiality is owed and the person’s contact information. This

11   description shall be produced as promptly as practicable.

12           5.4    Upward Designation of Information or Items Produced by Other Parties or Non-

13   Parties. A Party may upward designate (i.e., change any documents or other material produced

14   without a designation to a designation of “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

15   ATTORNEYS’ EYES ONLY” or change any Protected Material produced as “CONFIDENTIAL” to

16   a designation of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” any Disclosure or

17   Discovery Material produced by any other Party or Non-Party, provided that said Disclosure or

18   Discovery Material contains the upward Designating Party’s own CONFIDENTIAL or HIGHLY

19   CONFIDENTIAL – ATTORNEYS’ EYES ONLY information, or otherwise is entitled to protective

20   treatment under Fed. R. Civ. P. 26(c). Upward designation shall be accomplished by providing

21   written notice to all Parties identifying (by Bates number or other individually identifiable

22   information) the Disclosure or Discovery Material to be redesignated within sixty (60) days of

23   production by the Producing Party. Failure to upward designate within sixty (60) days of production,

24   alone, will not prevent a Party from obtaining the agreement of all Parties to upward designate certain

25   Disclosure or Discovery Material or from moving the Court for such relief. Any Party may object to

26   the upward designation of Disclosure or Discovery Material pursuant to the procedures set forth

27   herein regarding challenging designations.

28
     STIPULATED PROTECTIVE ORDER                       8                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 10 of 29




 1           5.5     Inadvertent Failures to Designate and Re-designation: A Producing Party that

 2   inadvertently fails to designate Disclosure or Discovery Material as “CONFIDENTIAL” or

 3   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to this Stipulation and

 4   Protective Order at the time of its production shall be able to make a correction to its designation,

 5   with the Receiving Party reserving the right to assert that such re-designation is improper pursuant to

 6   the procedures set forth herein regarding challenging designations. Such failure shall be corrected by

 7   providing to the Receiving Party written notice of the error and substituted copies of the inadvertently

 8   unmarked or mis-marked Disclosure or Discovery Materials. Any Party receiving such inadvertently

 9   unmarked or mis-marked Disclosure or Discovery Materials shall, within five (5) days of receipt of

10   the substitute copies, destroy or return to the law firm representing the Producing Party all copies of

11   such mis-designated documents. The Producing Party shall comply with Paragraph 5.2 when re-

12   designating Disclosure or Discovery Material as Protected Material. Following any re-designation of

13   Disclosure or Discovery Material as Protected Material (or re-designation of “CONFIDENTIAL”

14   material as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) the Party receiving such

15   Protected Material shall take reasonable steps to comply with the re-designation, including, without

16   limitation, retrieving all copies and excerpts of any re-designated Protected Material from persons not

17   entitled to receive it as re-designated.

18           A Receiving Party shall not be in breach of this Stipulation and Protective Order for any use

19   of such inadvertently-non-designated or inadvertently-mis-designated material before the Receiving

20   Party receives notice of the inadvertent failure to designate, unless an objectively reasonable person

21   would have realized that the material should have been appropriately designated with a

22   confidentiality designation under this Stipulation and Protective Order. Once a Receiving Party has

23   received notice of the inadvertent failure to designate pursuant to this provision, the Receiving Party

24   shall treat such material at the appropriately designated level pursuant to the terms of this Stipulation

25   and Protective Order, reserving all rights to assert that such re-designation is not proper under the

26   procedures set forth herein regarding challenging designations.

27

28
     STIPULATED PROTECTIVE ORDER                      9                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 11 of 29




 1   6.      DISCLOSURE OF DISCOVERY MATERIALS PROTECTED BY THE ATTORNEY-

 2           CLIENT PRIVILEGE OR WORK PRODUCT DOCTRINE

 3                  (a)     Each party shall make efforts that are “reasonably designed” to protect its

 4   privileged materials. See Gomez v. Vernon, 255 F.3d 1118, 1131-32 (9th Cir. 2001). What constitutes

 5   efforts that are reasonably designed to protect privileged materials depends on the circumstances; the

 6   law does not require “strenuous or Herculean efforts,” just “reasonable efforts.” See, e.g., Hynix

 7   Semiconductor, Inc. v. Rambus, Inc. 2008 WL 350641, *1–2 (N.D. Cal., Feb. 2, 2008); see also, Fed.

 8   R. Civ. P. 26(f)(3) advisory committee’s notes to 2006 amendments (discussing the substantial costs

 9   and delays that can result from attempts to avoid waiving privilege, particularly when discovery of

10   electronic information is involved). When a particular Rule 34 request requires a production or

11   inspection that is too voluminous, expedited or complex (such as certain electronic productions) to

12   allow for an adequate preproduction review, the parties may enter into non-waiver agreements for

13   that particular production. If the requesting party is unwilling to enter into such an agreement, the

14   Producing Party may move the Court for a nonwaiver order.

15                  (b)     The inadvertent production by a Party of Discovery Material subject to the

16   attorney-client privilege, work-product protection, or any other applicable privilege or protection,

17   despite the Producing Party’s reasonable efforts to prescreen such Discovery Material prior to

18   production, will not waive the applicable privilege and/or protection if a request for return of such

19   inadvertently produced Discovery Material is made promptly after the Producing Party learns of its

20   inadvertent production.

21                  (c)     Upon a request from any Producing Party who has inadvertently produced

22   Discovery Material that it believes is privileged and/or protected, each Receiving Party shall

23   immediately return such Protected Material or Discovery Material, and all copies, to the Producing

24   Party, except for any pages containing privileged markings by the Receiving Party which shall

25   instead be destroyed and certified as such by the Receiving Party to the Producing Party.

26                  (d)     Nothing herein shall prevent the Receiving Party from preparing a record for

27   its own use containing the date, author, addresses, and topic of the inadvertently produced Discovery

28
     STIPULATED PROTECTIVE ORDER                      10                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 12 of 29




 1   Material and such other information as is reasonably necessary to identify the Discovery Material and

 2   describe its nature to the Court in any motion to compel production of the Discovery Material.

 3   7.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

 4           7.1    Timing of Challenges. The Receiving Party must challenge the Designating Party’s

 5   designations within ninety (90) days of receipt of the challenged information.

 6           7.2    Meet and Confer. A Party that elects to initiate a challenge to a Designating Party’s

 7   confidentiality designation must do so in good faith and must begin the process by serving on the

 8   Designating Party a written objection to such designation, which shall describe with particularity the

 9   documents or information in question and shall state the grounds for objection. The challenging

10   Party must identify the specific Bates range(s) for the challenged document(s), explain the basis for

11   its belief that the confidentiality designation was not proper and must give the Designating Party a

12   reasonable opportunity to review the designated material, reconsider the circumstances and, if no

13   change in designation is offered, explain the basis for the chosen designation. Within 14 days of the

14   challenging Party’s written objection, counsel for the challenging Party and the Designating Party

15   shall meet and confer directly (in voice-to-voice dialogue; other forms of communication are not

16   sufficient) in a good faith effort to resolve the dispute as to the challenged designation of materials.

17   During the meet and confer process, the Designating Party shall explain the grounds for designating

18   material as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY.”

19   A challenging Party may proceed to the next stage of the challenge process only if it has first engaged

20   in this meet and confer process.

21           7.3    Judicial Intervention. If the parties are unable to resolve the dispute, they shall comply

22   with the undersigned’s Standing Order re Civil Discovery Disputes and with Civ. L.R. 79-5, if

23   applicable. The Discovery Dispute Joint Report (DDJR) shall identify the challenged material and set

24   forth in detail the basis for the challenge. In each such DDJR, the parties shall attest that they have

25   complied with the meet-and-confer requirements imposed in the preceding paragraph and set forth

26   with specificity the justification for the confidentiality designation that was given by the Designating

27   Party in the meet-and-confer dialogue.

28
     STIPULATED PROTECTIVE ORDER                      11                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
          Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 13 of 29




 1           Nothing in this Stipulation and Protective Order shall preclude or prejudice either party from

 2   arguing for or against any designation, or establish any presumption that a particular designation is

 3   valid. Until the Court rules on the challenge, all parties shall continue to afford the material in

 4   question the level of protection to which it is entitled under the Designating Party’s designation.

 5   8.      ACCESS TO AND USE OF PROTECTED MATERIAL

 6           8.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed or

 7   produced by another Party or by a Non-Party in connection with this case only for prosecuting,

 8   defending, or attempting to settle this litigation. A Receiving Party may not use Protected Material for

 9   any other purpose, including, without limitation, any other litigation or any business or competitive

10   function. Such Protected Material may be disclosed only to the categories of persons and under the

11   conditions described in this Order and may not be disclosed to the media. For purposes of this

12   Stipulation and Protective Order, and specifically as utilized in the preceding sentence, “disclosed” or

13   “disclose” shall mean any physical or electronic showing of the Protected Materials to any person,

14   including communication in any form of the contents (in whole or in part) or existence of the

15   Protected Materials. When the litigation has been terminated, a Receiving Party must comply with

16   the provisions of section XV below (FINAL DISPOSITION).

17           Protected Material must be stored and maintained by a Receiving Party at a location and in a

18   secure manner that ensures that access is limited to the persons authorized under this Order.

19           8.2    Disclosure of “CONFIDENTIAL” Information or Items: Unless otherwise ordered by

20   the Court or permitted in writing by the Designating Party, a Receiving Party may disclose any

21   information or item designated “CONFIDENTIAL” only to:

22                  (a)     the Receiving Party’s Outside Counsel of Record in this action and such

23   Outside Counsel of Record’s attorneys, paralegals, and staff, and any copying or clerical litigation

24   support services working at the direction of such counsel, paralegals, and staff, to whom it is

25   reasonably necessary to disclose the information for this Action;

26                  (b)     the former and current officers, directors, and employees (including In-House

27   Counsel) of the Receiving Party to whom disclosure is reasonably necessary for this litigation and

28
     STIPULATED PROTECTIVE ORDER                      12                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 14 of 29




 1   who have signed the “General Acknowledgment of Confidentiality and Agreement to Be Bound by

 2   Protective Order” that is attached hereto as Exhibit A-1;

 3                  (c)     any insurer or indemnitor of any defendant in these Actions;

 4                  (d)     the Court and any mediators or arbitrators and their respective personnel;

 5                  (e)     court reporters and their staff, professional jury or trial consultants, and

 6   Professional Vendors to whom disclosure is reasonably necessary for these Actions and who have

 7   signed the “General Acknowledgment of Confidentiality and Agreement to Be Bound by Protective

 8   Order” that is attached hereto as Exhibit A-1;

 9                  (f)     mock jurors, subject to the provisions of Paragraph 8.5 below;

10                  (g)     the author(s) and recipients of the “CONFIDENTIAL” Material who have

11   signed the “General Acknowledgment of Confidentiality and Agreement to Be Bound by Protective

12   Order” that is attached hereto as Exhibit A-1; and

13                  (h)     any other person with the prior written consent of the Producing Party.

14           8.3    Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

15   Information or Items: Unless otherwise ordered by the Court or permitted in writing by the

16   Designating Party, a Receiving Party may disclose any information or item designated “HIGHLY

17   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:

18                  (a)     The Receiving Party’s Outside Counsel of Record in these Actions and such

19   Outside Counsel’s attorneys, paralegals, and staff, and any copying or clerical litigation support

20   services working at the direction of such counsel, paralegals, and staff, to whom it is reasonably

21   necessary to disclose the information for this Action;

22                  (b)     In-House Counsel of the Receiving Party to whom disclosure is reasonably

23   necessary for this litigation and who have signed the “General Acknowledgment of Confidentiality

24   and Agreement to Be Bound by Protective Order” that is attached hereto as Exhibit A-1;

25                  (c)     the Court, and any mediators or arbitrators, and their respective personnel;

26                  (d)     court reporters, their staff, and Professional Vendors to whom disclosure is

27   reasonably necessary for this litigation and who have signed the “General Acknowledgment of

28
     STIPULATED PROTECTIVE ORDER                      13                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 15 of 29




 1   Confidentiality and Agreement to Be Bound by Protective Order” that is attached hereto as Exhibit

 2   A-1; and

 3                  (e)     the author(s) and recipient(s) of the “HIGHLY CONFIDENTIAL –

 4   ATTORNEYS’ EYES ONLY” Material who have signed the “General Acknowledgment of

 5   Confidentiality and Agreement to Be Bound by Protective Order” that is attached hereto as Exhibit

 6   A-1.

 7                  8.4     General Procedure for Disclosure of “CONFIDENTIAL” or “HIGHLY

 8   CONFIDENTIAL – ATTORNEYS’ EYES ONLY”:

 9                  (a)     Before any information or item designated “CONFIDENTIAL,” or substance

10   or summary thereof, shall be disclosed to the persons or entities identified in sub- paragraphs (b), (e),

11   (f), (g), and (h) of paragraph 8.2 above, the Parties are hereby ordered to tender a copy of this

12   Stipulation and Protective Order to each such person and witness in order that each such entity or

13   person to whom such disclosure of “CONFIDENTIAL” information or item is made shall be on

14   notice and fully informed that the existence and substance of the Stipulation and Protective Order is,

15   and is intended to be, equally binding upon it, him or her. Before any information or item designated

16   “CONFIDENTIAL,” or substance or summary thereof, is disclosed to any such person, each such

17   person shall sign and abide by the terms of the General Acknowledgment of Confidentiality and

18   Agreement to Be Bound by Protective Order, attached hereto as Exhibit A-1. The person to whom the

19   “CONFIDENTIAL” information or item is disclosed shall not give, show, or otherwise divulge any

20   of the “CONFIDENTIAL” information or item to any entity or person except as specifically provided

21   for by this Stipulation and Protective Order.

22                  (b)     Before any information or item designated “HIGHLY CONFIDENTIAL -

23   ATTORNEYS’ EYES ONLY,” or substance or summary thereof, shall be disclosed to the persons or

24   entities identified in sub-paragraphs (b), (d), and (e) of paragraph 8.3 above, the Parties are hereby

25   ordered to tender a copy of this Stipulation and Protective Order to each such person and witness in

26   order that each such entity or person to whom such disclosure of “HIGHLY CONFIDENTIAL -

27   ATTORNEYS’ EYES ONLY” information or item is made shall be on notice and fully informed that

28
     STIPULATED PROTECTIVE ORDER                      14                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 16 of 29




 1   the existence and substance of the Stipulation and Protective Order is, and is intended to be, equally

 2   binding upon it, him or her. Before any information or item designated “HIGHLY CONFIDENTIAL

 3   - ATTORNEYS’ EYES ONLY,” or substance or summary thereof, is disclosed to any such person,

 4   each such person shall sign and abide by the terms of the General Acknowledgment of

 5   Confidentiality and Agreement to Be Bound by Protective Order, attached hereto as Exhibit A-1. The

 6   person to whom the “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY” information or

 7   item is disclosed shall not give, show, or otherwise divulge any of the “HIGHLY CONFIDENTIAL -

 8   ATTORNEYS’ EYES ONLY” information to any entity or person except as specifically provided for

 9   by this Stipulation and Protective Order.

10           8.5    Procedure for Disclosure of “CONFIDENTIAL” Information or Items to Mock Jurors:

11   A Receiving Party may disclose to mock jurors materials prepared by its outside counsel that are

12   derived from information or items designated “CONFIDENTIAL” (but not materials that are derived

13   from information or items designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

14   ONLY”), so long as the derivative materials do not include the as produced information itself.

15   Before providing such material to a mock juror, the Receiving Party must, in compliance with

16   Paragraph 8.4(a) above, tender a copy of this Stipulation and Protective Order to each mock juror in

17   order that each person to whom such disclosure is made shall be on notice and fully informed that the

18   existence and substance of the Stipulation and Protective Order is, and is intended to be, equally

19   binding upon it, him or her, as well as upon the Parties and their counsel. Before any materials

20   prepared by Outside Counsel of Record that are derived from information or items designated

21   “CONFIDENTIAL” are disclosed to a mock juror, each such person shall sign and abide by the terms

22   of the General Acknowledgment of Confidentiality and Agreement to Be Bound by Protective Order,

23   attached hereto as Exhibit A-1. The mock juror to whom the material is disclosed shall not give,

24   show, or otherwise divulge any of the information contained therein to any entity or person except as

25   specifically provided for by this Stipulation and Protective Order.

26           8.6    Procedure for Disclosure of “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

27   ATTORNEYS’ EYES ONLY” Information or Items to Experts:

28
     STIPULATED PROTECTIVE ORDER                     15                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 17 of 29




 1           (a)    Before any “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS’

 2   EYES ONLY” information, or substance or summary thereof, shall be disclosed to any Plaintiffs’

 3   Expert, the Expert shall sign and abide by the terms of the “Expert/Consultant Acknowledgment of

 4   Confidentiality and Agreement to Be Bound by Protective Order,” attached as Exhibit A-2. An

 5   Expert may make an application to the Court with advance notice and based upon a showing of good

 6   cause for modification of, or relief from, the obligations of Expert/Consultant Acknowledgment of

 7   Confidentiality and Agreement to Be Bound by Protective Order (Exhibit A-2) prior to the review of

 8   any “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY”

 9   information.

10           (b)    Unless otherwise ordered by the Court or agreed in writing by Apple, to the extent

11   Plaintiffs seek to disclose to an Expert any information or item that has been designated “HIGHLY

12   CONFIDENTIAL—ATTORNEYS’ EYES ONLY” by Defendant, Plaintiffs must first make a

13   written request to Apple that (1) identifies the specific “HIGHLY CONFIDENTIAL –

14   ATTORNEYS’ EYES ONLY” information that Plaintiffs seek to disclose to the Expert; (2) sets forth

15   the full name of the Expert and the city and state of his or her primary residence, (3) attaches the

16   Expert’s fully executed Expert/Consultant Acknowledgment of Confidentiality and Agreement to Be

17   Bound by Protective Order (attached hereto as Exhibit A-2); (4) attaches a copy of the Expert’s

18   current resume, (5) identifies the Expert’s current employer(s); (6) identifies each person or entity

19   from whom the Expert has received compensation for work in his or her areas of expertise or to

20   whom the Expert has provided professional services at any time during the preceding five years, and

21   (7) identifies (by name and number of the case, filing date, and location of court) any litigation in

22   connection with which the Expert has provided any professional services during the preceding five

23   years. Plaintiffs shall provide such other information regarding the Expert’s professional activities

24   reasonably requested by Apple in order for it to evaluate whether good cause exists to object to the

25   disclosure to the Expert.

26           (c)    Once Plaintiffs provide the information specified in the preceding paragraph, Plaintiffs

27   may disclose the subject Protected Material to the identified Expert unless, within fourteen (14) court

28
     STIPULATED PROTECTIVE ORDER                      16                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 18 of 29




 1   days of delivering the request, Plaintiffs receive a written objection from the Apple. Any such

 2   objection must set forth in detail the grounds on which it is based.

 3             (d)   Plaintiffs must meet and confer with Apple (through direct voice-to-voice dialogue) to
                                                                              the parties shall file
 4   try to resolve any objections by agreement. If no agreement is reached, Plaintiffs may file a motion as
      a DDJR                                                                                         re
 5   provided in Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable) seeking

 6   permission from the Court to disclose the subject Protected Material to the identified Expert. Any
          DDJR
 7   such motion must describe the circumstances with specificity, set forth in detail the reasons for which

 8   the disclosure to the Expert is reasonably necessary, assess the risk of harm that the disclosure would
                                                                                                     in any
 9   entail and suggest any additional means that might be used to reduce that risk. In addition, any such
     such DDJR, the party seeking relief must describe
10   motion must be accompanied by a competent declaration in which the movant describes the parties’

11   efforts to resolve the matter by agreement (i.e., the extent and the content of the meet and confer

12   discussions) and sets forth the reasons advanced by Apple for its refusal to approve the disclosure.

13             (e)   An initial failure to object to an Expert under this section shall not preclude Apple

14   from later objecting to continued access by that Expert. The designated Expert may continue to have

15   access to information that was provided to such Expert prior to the date of the later objection. If a

16   later objection is made, no further material designated “HIGHLY CONFIDENTIAL—

17   ATTORNEYS’ EYES ONLY” shall be disclosed to the Expert until the Court resolves the matter or

18   Apple withdraws its objection.

19             8.7   Plaintiffs’ Counsel shall be responsible for assuring compliance with the terms of this

20   Stipulation and Protective Order with respect to persons to whom such Protected Material is disclosed

21   and shall obtain and retain the originals of the “Expert/Consultant Acknowledgment of

22   Confidentiality and Agreement to Be Bound by Protective Order” and the “General Acknowledgment

23   of Confidentiality and Agreement to Be Bound by Protective Order” executed by qualified recipients

24   of Protected Material (if such execution was required by terms of this Stipulation and Protective

25   Order).

26

27

28
     STIPULATED PROTECTIVE ORDER                      17                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
           Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 19 of 29




 1   9.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

 2           LITIGATION

 3           If a Party is served with a subpoena or a court order issued in other litigation that compels

 4   disclosure of any information or items designated in this action as “CONFIDENTIAL” or “HIGHLY

 5   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” that Party must:

 6                  (a)     promptly notify the Designating Party in writing (by email, if possible)

 7   immediately and in no event more than three court days after receiving the subpoena or order. Such

 8   notification shall include a copy of the subpoena or court order;

 9                  (b)     promptly notify in writing the Party who caused the subpoena or order to issue

10   in the other litigation that some or all of the material covered by the subpoena or order is subject to

11   this Order. Such notification shall include a copy of this Order; and

12                  (c)     cooperate with respect to all reasonable procedures sought to be pursued by the

13   Designating Party whose Protected Material may be affected.

14           If the Designating Party timely seeks a protective order, the Party served with the subpoena or

15   court order shall not produce any information designated in this action as “CONFIDENTIAL” or

16   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before a determination by the Court

17   from which the subpoena or order issued, unless the Party has obtained the Designating Party’s

18   permission. The Designating Party shall bear the burden and expense of seeking protection in that

19   Court of its confidential material – and nothing in these provisions should be construed as authorizing

20   or encouraging a Receiving Party in this action to disobey a lawful directive from another Court.

21   10.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

22           LITIGATION

23                  (a)     The terms of this Order are applicable to information produced by a Non-Party

24   in this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

25   ATTORNEYS’ EYES ONLY.” Such information produced by Non-Parties in connection with this

26   litigation is protected by the remedies and relief provided by this Order. Nothing in these provisions

27   should be construed as prohibiting a Non-Party from seeking additional protections.

28
     STIPULATED PROTECTIVE ORDER                      18                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
           Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 20 of 29




 1                    (b)    In the event that a Party is required, by a valid discovery request, to produce a

 2   Non-Party’s confidential information in its possession, and the Party is subject to an agreement with

 3   the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

 4                           1.      promptly notify in writing the Requesting Party and the Non-Party that

 5   some or all of the information requested is subject to a confidentiality agreement with a Non-Party;

 6                           2.      promptly provide the Non-Party with a copy of this Order in this

 7   litigation, the relevant discovery request(s), and a reasonably specific description of the information

 8   requested; and

 9                           3.      make the information requested available for inspection by the Non-

10   Party.

11                    (c)    If the Non-Party fails to object or seek a protective order from this Court

12   within fourteen (14) days of receiving the notice and accompanying information, the Receiving Party

13   may produce the Non-Party’s confidential information responsive to the discovery request. If the

14   Non-Party timely seeks a protective order, the Receiving Party shall not produce any information in

15   its possession or control that is subject to the confidentiality agreement with the Non-Party before a

16   determination by the Court. Absent a court order to the contrary, the Non-Party shall bear the burden

17   and expense of seeking protection in this Court of its Protected Material. All such disclosure and

18   discovery disputes are subject to the undersigned’s Standing Order re Civil Discovery Disputes.

19   11.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

20            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

21   Material to any person or in any circumstance not authorized under this Order, the Receiving Party

22   must immediately: (a) notify in writing the Designating Party of the unauthorized disclosures (by

23   email, if possible) immediately and in no event more than three court days after learning of the

24   disclosure; (b) use its best efforts to retrieve all unauthorized copies of the Protected Material;

25   (c) inform the person or persons to whom unauthorized disclosures were made of all the terms of this

26   Order, and (d) request such person or persons to execute the “General Acknowledgment of

27   Confidentiality and Agreement to Be Bound by Protective Order” (Exhibit A-1). Unauthorized or

28
     STIPULATED PROTECTIVE ORDER                      19                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
           Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 21 of 29




 1   inadvertent disclosure does not change the status of Discovery Material or waive the right to maintain

 2   the disclosed document or information as Protected.

 3   12.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

 4            MATERIAL

 5                  (a)     Nothing in this Order shall require disclosure of information which is protected

 6   by the attorney-client privilege, work product immunity, or other privilege or immunity. If a

 7   Producing Party becomes aware that it has produced information or Materials that it believes are

 8   protected by the attorney-client privilege, work product immunity, or other privilege or immunity, the

 9   Producing Party should promptly notify each Receiving Party in writing of the production. The

10   Producing Party need not provide the basis for its privilege assertion in its notice to a Receiving

11   Party.

12                  (b)     Once a Receiving Party receives notice of the production, it shall make

13   reasonable efforts to gather copies of the information and Materials that were distributed to others and

14   shall return or destroy all copies of such produced Material to the producing party within three (3)

15   business days of receiving such notice. Any notes or summaries referring or relating to any such

16   produced Material subject to a claim of privilege or immunity shall be destroyed forthwith.

17   Moreover, if a Receiving Party, upon review of information or Materials produced to it, becomes

18   aware that any portion of such information or Materials could reasonably be considered to be

19   protected by the attorney-client privilege, work product immunity, or other privilege or immunity, the

20   receiving party shall promptly notify the Producing Party of the specific Materials which could be so

21   considered and will not use such Materials for any purpose until the issue has been resolved by

22   agreement of the Parties or by order of the Court.

23                  (c)     Nothing herein shall prevent the Receiving Party from challenging the

24   propriety of the attorney-client privilege or Work product immunity or other applicable privilege

25   designation by submitting a challenge to the Court. Each Receiving Party shall refrain from

26   distributing or otherwise using the disclosed information or Materials for any purpose until the

27   discoverability of the Materials is agreed by the Parties or resolved by the Court.

28
     STIPULATED PROTECTIVE ORDER                     20                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
           Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 22 of 29




 1   13.     DISCOVERY FROM EXPERTS OR CONSULTANTS

 2                   (a)       Testifying experts shall not be subject to discovery with respect to any draft of

 3   his or her report(s) in this case. Draft reports, notes, or outlines for draft reports developed and

 4   drafted by the testifying expert and/or his or her staff are also exempt from discovery.

 5                   (b)       Discovery of materials provided to testifying experts shall be limited to those

 6   materials, facts, consulting expert opinions, and other matters actually relied upon by the testifying

 7   expert in forming his or her final report, trial, or deposition testimony or any opinion in this case. No

 8   discovery can be taken from any non-testifying expert except to the extent that such non-testifying

 9   expert has provided information, opinions, or other materials to a testifying expert relied upon by that

10   testifying expert in forming his or her final report(s), trial, and/or deposition testimony or any opinion

11   in this case.

12                   (c)       No conversations or communications between counsel and any testifying or

13   consulting expert will be subject to discovery unless the conversations or communications are relied

14   upon by such experts in formulating opinions that are presented in reports or trial or deposition

15   testimony in this case.

16                   (d)       Materials, communications, and other information exempt from discovery

17   under the foregoing Paragraphs 13 (a)–(c) shall be treated as attorney-work product for the purposes

18   of this litigation and Order.

19   14.     MISCELLANEOUS

20           14.1    Right to Further Relief: Nothing in this Order abridges the right of any person to seek

21   its modification by the Court in the future.

22           14.2    Right to Assert Other Objections: By stipulating to the entry of this Order no Party

23   waives any right it otherwise would have to object to disclosing or producing any information or item

24   on any ground not addressed in this Order. Similarly, no Party waives any right to object on any

25   ground to use in evidence of any of the material covered by this Order.

26           14.3    Computation of Time: The computation of any period of time prescribed or allowed

27   by this Order shall be governed by the provisions for computing time set forth in Federal Rules of

28
     STIPULATED PROTECTIVE ORDER                        21                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 23 of 29




 1   Civil Procedure 6 except as otherwise provided in Civil Local Rule 7.

 2           14.4   Fact of Designation Not Admissible: The fact of designation, or failure to designate,

 3   Disclosure or Discovery Materials as CONFIDENTIAL or HIGHLY CONFIDENTIAL –

 4   ATTORNEYS’ EYES ONLY pursuant to this Stipulation and Protective Order shall not be

 5   admissible for any purpose in a trial on the merits or at any other proceeding other than at a

 6   proceeding arising from or related to this Stipulation and Protective Order.

 7           14.5   Successors: This Order shall be binding upon the Parties hereto, their attorneys, and

 8   their successors, executors, heirs, assigns, and employees.

 9           14.6   Export Control: Disclosure of Protected Material shall be subject to all applicable

10   laws and regulations relating to the export of technical data contained in such Protected Material,

11   including the release of such technical data to foreign persons or nationals in the United States or

12   elsewhere. The Producing Party shall be responsible for identifying any such controlled technical

13   data, and the Receiving Party shall take measures necessary to ensure compliance.

14           14.7    Filing Protected Material. Without written permission from the Designating Party or

15   a court order secured after appropriate notice to all interested persons, a Party may not file any

16   Protected Material in the public record in these Actions. A Party that seeks to file under seal any

17   Protected Material must comply with Civil Local Rule 79-5. A Party who seeks to introduce

18   Protected Material at a hearing, pretrial or other proceeding shall advise the Court at the time of

19   introduction that the information sought to be introduced is protected. If the Party who designated the

20   information as Protected Material requests the protection be continued, the Court will review the

21   information to determine if the information is entitled to continued protection. Prior to disclosure of

22   Protected Material at a hearing, the Producing Party may seek further protections against public

23   disclosure from the Court.

24           14.8   The provisions of this Stipulation and Protective Order do not apply to any trial

25   proceedings in this Action. The Parties will separately request the Court to enter an Order governing

26   the handling of such materials at trial.

27           14.9   The Court shall retain jurisdiction to enforce the terms of this Stipulation and

28
     STIPULATED PROTECTIVE ORDER                      22                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
           Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 24 of 29




 1   Protective Order for a period of six months after final disposition of this litigation.

 2           14.10 Nothing in this Stipulation and Order shall alter the requirements for and scope of

 3   expert discovery in accordance with Federal Rule of Civil Procedure 26, local rules, and case law.

 4           14.11 The procedures set forth in this Stipulation and Protective Order shall apply to every

 5   action that is subject to this proceeding, whether filed in or transferred to this Court for so long as

 6   such actions are pending.

 7   15.     FINAL DISPOSITION

 8           Within sixty (60) days after the final disposition of this Action, each Receiving Party must

 9   return all Protected Material to the Producing Party or securely destroy or delete such material with a

10   written certification of such secure destruction or deletion of Protected Material. As used in this

11   subdivision, “all Protected Material” includes all hard and electronic copies, abstracts, derivations,

12   compilations, summaries, and any other format reproducing or capturing any of the Protected

13   Material. Whether the Protected Material is returned or destroyed or deleted, the Receiving Party

14   must submit a written certification to the Producing Party (and, if not the same person or entity, to the

15   Designating Party) by the 60-day deadline that (1) identifies (by category, where appropriate) all the

16   Protected Material that was returned, destroyed or deleted and (2) affirms that the Receiving Party

17   has not retained any hard and electronic copies, abstracts, derivations, compilations, summaries or

18   any other format reproducing or capturing any of the Protected Material. Notwithstanding this

19   provision, Counsel are entitled to retain an archival copy of all pleadings, motion papers, trial,

20   deposition, and hearing transcripts, legal memoranda, correspondence, and attorney work product

21   even if such materials contain Protected Material. Any such archival copies that contain or constitute

22   Protected Material remain subject to this Order as set forth in Section IV (DURATION).

23           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

24
     DATED: October 2, 2017                          Respectfully submitted,
25
                                                     McCUNE WRIGHT AREVALO, LLP
26
                                                     By: /s/ Richard D. McCune
27                                                        Richard D. McCune
                                                     Attorneys for Plaintiffs and the Putative Class
28
     STIPULATED PROTECTIVE ORDER                       23                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 25 of 29




 1
     DATED: October 2, 2017                  Respectfully submitted,
 2
                                             MORRISON & FOERSTER LLP
 3
                                          By: /s/ Arturo J. González
 4                                             ARTURO J. GONZÁLEZ
                                          Attorneys for Defendant Apple Inc.
 5                     AS MODIFIED BY THE COURT,
 6           PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                    ^
 7

 8
               October 11, 2017
     DATED: ________________________        _____________________________________
 9                                          The Honorable Howard R. Lloyd
10                                          United States Magistrate Judge

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     STIPULATED PROTECTIVE ORDER              24                       CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 26 of 29




 1                                                EXHIBIT A-1

 2    GENERAL ACKNOWLEDGMENT OF CONFIDENTIALITY AND AGREEMENT TO BE
                       BOUND BY PROTECTIVE ORDER
 3

 4            I, _____________________________ [print or type full name], of

 5   ______________________________________________ [print or type full address], declare under

 6   penalty of perjury that I have read in its entirety and understand the Stipulated Protective Order

 7   (“Order”) that was issued by the United States District Court for the Northern District of California

 8   on _____________________________ [date] in the case of Thomas Davidson, Todd Cleary, Adam

 9   Benelhachemi, Michael Pajaro, John Borzymowski, Brooke Corbett, Taylor Brown, Justin Bauer,

10   Heirloom Estate Services, Inc., Kathleen Baker, Matt Muilenburg, William Bon, and Jason Petty v.

11   Apple, Inc., Case No. 5:16-cv-04942-LHK.

12            I agree to comply with and to be bound by all the terms of the Order and I understand and

13   acknowledge that failure to so comply could expose me to sanctions and punishment in the nature of

14   contempt. I solemnly promise that I will not disclose in any manner any information or item that is

15   subject to the Order to any person or entity except in strict compliance with the provisions of the

16   Order.

17            I will access and review Protected Material that may be provided to me solely for the purpose

18   of my role in assisting with prosecuting, defending, or attempting to settle this litigation or to comply

19   with judicial process or any applicable statute or regulation and for no other purpose whatsoever. I

20   further agree not to disclose any Protected Material except as allowed by the terms of the Order. I

21   will only make such copies of or notes concerning the Protected Material as are necessary to assist

22   with prosecuting, defending, or attempting to settle this litigation or to comply with judicial process

23   or any applicable statute or regulation in connection with this action. Upon final determination of this

24   action, I shall promptly and securely destroy or delete all Protected Material provided to me as well

25   as any hard and electronic copies, abstracts, derivations, compilations, summaries, and any other

26   format reproducing or capturing any of the Protected Material. I understand that my obligations

27   pertaining to the Protected Material continue event after the conclusion of the action.

28
     STIPULATED PROTECTIVE ORDER                      1                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 27 of 29




 1           I further agree to submit to the jurisdiction of the United States District Court for the Northern

 2   District of California for the purpose of enforcing the terms of the Order, even if such enforcement

 3   proceedings occur after termination of this action.

 4           I hereby appoint __________________________ [print or type full name] of

 5   _______________________________________ [print or type full address and telephone number] as

 6   my California agent for service of process in connection with this action or any proceedings related to

 7   enforcement of the Order.

 8   Dated: ____________________

 9
     _______________________________
10   City and State where sworn and signed
11

12   Printed name: ______________________________
13

14   Signature: __________________________________
15

16

17

18

19

20

21

22

23

24

25

26

27

28
     STIPULATED PROTECTIVE ORDER                       2                        CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 28 of 29



                                   EXHIBIT A-2
 1
            EXPERT/CONSULTANT ACKNOWLEDGMENT OF CONFIDENTIALITY AND
 2                  AGREEMENT TO BE BOUND BY PROTECTIVE ORDER

 3

 4   I, ___________________________________, declare:

 5           1.      I have read the Stipulation and Protective Order (“Order”) in Thomas Davidson,

 6    Todd Cleary, Adam Benelhachemi, Michael Pajaro, John Borzymowski, Brooke Corbett, Taylor

 7    Brown, Justin Bauer, Heirloom Estate Services, Inc., Kathleen Baker, Matt Muilenburg, William

 8    Bon, and Jason Petty v. Apple, Inc., Case No. 5:16-cv-04942-LHK, pending in the Northern

 9    District of California.

10           2.      I am familiar with the contents of the Order and agree to comply and be bound by

11    the provisions thereof.

12           3.      I will not divulge to persons other than those specifically authorized by the Order,

13    and will not copy or use except solely for the purposes of this litigation and only as expressly

14    permitted by the terms of the Order, any Confidential or Highly Confidential Information obtained

15    pursuant to the Order.

16           4.      By signing below, I hereby agree to submit to the jurisdiction of the United States

17    District Court for the Northern District of California for resolving any and all disputes regarding

18    the Order and this Acknowledgment of Confidentiality. I further agree that any and all disputes

19    regarding the Order and this Acknowledgment of Confidentiality shall be governed by the laws of

20    the State of California, and that the district court for the Northern District of California shall be the

21    sole and exclusive venue for resolving any disputes arising from the Order and this

22    Acknowledgment of Confidentiality.

23           6.      By signing below, I hereby confirm that I am not currently and do not currently

24    anticipate becoming an officer, director, or employee of, providing any form of consulting services

25    to, or becoming involved in any competitive decision-making on behalf of any entity on the

26    Restricted Competitors List with respect to the subject matter of this suit (including any messaging,

27    tablet, or mobile phone applications, products, or services). I further agree that: (1) during the

28
     STIPULATED PROTECTIVE ORDER                        3                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
         Case 5:16-cv-04942-LHK Document 128 Filed 10/12/17 Page 29 of 29




 1    pendency of these proceedings I shall not accept any position as an employee, officer, or director of

 2    any entity on the Restricted Competitors List; (2) for the two years following the close of expert

 3    discovery or during the pendency of these proceedings, whichever is shorter, I shall not consult with,

 4    or provide services to any entity on the Restricted Competitors List; and (3) I shall not at any time,

 5    either during the pendency of these proceedings or after conclusion of these proceedings, use or

 6    divulge any of the Confidential or Highly Confidential Information made available to me pursuant to

 7    the Order.

 8           I declare under penalty of perjury under the laws of the State of California that the foregoing

 9    is true and correct.

10           Executed on _______________________________ at___________________________.

11
                                                   Name: ___________________________________
12

13                                                 Address: _________________________________

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     STIPULATED PROTECTIVE ORDER                      4                         CASE NO. 16-CV-4942-LHK
     sf- 3814819
